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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                                                )    Chapter 11
 In re:                                                                         )
                                                                                )    Case No. 19-12417
           HVI CAT CANYON, INC.,                                                )
                                                                                )
                               Debtor                                           )    Ref. Docket No. 52
                                                                                )

                                                    AFFIDAVIT OF SERVICE

 STATE OF NEW YORK  )
                    ) ss.:
 COUNTY OF NEW YORK )

 WING CHAN, being duly sworn, deposes and says:

 1. I am employed as a Noticing Coordinator by Epiq Corporate Restructuring, LLC, located at
    777 Third Avenue, New York, New York 10017. I am over the age of eighteen years and am
    not a party to the above-captioned action.

 2. On August 15, 2019, I caused to be served the “Declaration of Randeep S. Grewal in Support
    of Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 105, 361, 362 and 363
    Approving Use of Cash Collateral, Providing Adequate Protection and Scheduling Final
    Hearing Pursuant to Bankruptcy Rule 4001,” dated August 15, 2019 [Docket No. 52], by
    causing true and correct copies to be:

      a. enclosed securely in separate postage pre-paid envelopes and delivered via first class mail
         to those parties listed on the annexed Exhibit A, and

      b. delivered via electronic mail to those parties listed on the annexed Exhibit B.




 T:\Clients\HVICAT\Affidavits\Declaration ISO Cash Collateral Motion_DI 52_8-15-19_FK.doc
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 3. All envelopes utilized in the service of the foregoing contained the following legend:
    “LEGAL DOCUMENTS ENCLOSED. PLEASE DIRECT TO ATTENTION OF
    ADDRESSEE, PRESIDENT OR LEGAL DEPARTMENT.”

                                                                                            /s/ Wing Chan
                                                                                            Wing Chan

 Sworn to before me this
 16th day of August, 2019
 /s/ John Chau
 Notary Public, State of New York
 No. 01CH6353383
 Qualified in Queens County
 Commission Expires January 23, 2021




                                                                 -2-
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                                 EXHIBIT A
                                               HVI CAT CANYON, INC.
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Claim Name                               Address Information
ANN JENNY SCHUPP                         C/O M H WHITTIER CORP. 1600 HUNTINGTON DRIVE SOUTH PASADENA CA 91030
BRUCE S. GELBER                          DEPUTY ASST ATTORNEY GENERAL ENVIRONMENT & NATURAL RESOURCES DIVISION 950
                                         PENNSYLVANIA AVE WASHINGTON DC 20530
CALIFORNIA DEPT. OF TOXIC SUBSTANCE      (BERKLEY REGIONAL OFFICE) 700 HEINZ AVENUE SUITE 200 BERKELEY CA 94710-2721
CONTROL
CALIFORNIA FRANCHISE TAX BOARD           PO BOX 942857 SACRAMENTO CA 94257-0500
CALIFORNIA OSHA                          1515 CLAY STREET, SUITE 1901 OAKLAND CA 94612
CALIFORNIA STATE CONTROLLER              BETTY T. YEE TAX ADMINISTRATION SECTION PO BOX 942850 SACREMENTO CA 94250-5880
CHARLES C. ALBRIGHT TRUSTEE              729 WEST 16TH STREET #B8 COSTA MESA CA 92627
DIANE T. WALKER                          748 OCEANVILLE ROAD STONINGTON ME 04681-9714
FIRST AMERICAN TITLE INSURANCE COMPANY   TRUSTEE FOR UBS AG LONDON BRANCH 4380 LA JOLLA VILLAGE DRIVE SUITE 110 SAN
                                         DIEGO CA 92122
INTERNAL REVENUE SERVICE                 CENTRALIZED INSOLVENCY OPERATIONS PO BOX 7346 PHILADELPHIA PA 19101-7346
INTERNAL REVENUE SERVICE                 (SMALL BUSINESS/SELF-EMPLOYMENT DIV) 5000 ELLIN ROAD LANHAM MD 20706
J. P. MORGAN-CHASE                       MICHAEL KERNEY 450 WEST 33RD STREET, 15TH FLOOR REF: 030057 NASSAU ASSOC-SABA
                                         NEW YORK NY 10041
NORTHERN CALIFORNIA COLLECTION           SERVICE, INC. 700 LEISURE LANE SACREMENTO CA 95815
OFFICE OF THE UNITED STATES TRUSTEE      SOUTHERN DISTRICT OF NEW YORK SERENE NAKANO, ESQ. U.S. FEDERAL OFFICE BUILDING
                                         201 VARICK STREET, SUITE 1006 NEW YORK NY 10014
SANTA BARBARA COUNTY -APCD               AERON ARLIN GENET 260 NORTH SAN ANTONIO RD SANTA BARBARA CA 93110
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U.S. DEPARTMENT OF TRANSPORTATION        1200 NEW JERSEY AVE, SE WASHINGTON DC 20590
UBS AG, LONDON BRANCH                    JULIAN GOULD 600 WASHINGTON BLVD. STAMFORD CT 06901
UNITED STATES ATTORNEY'S OFFICE          SOUTHERN DISTRICT OF NEW YORK ATTN: ANTHONY SUN, ASST. UNITED STATES ATTORNEY
                                         TAX & BANKRUPTCY UNIT 86 CHAMBERS ST., 3RD FLOOR NEW YORK NY 10007
W. J. KENNY CORP.                        C/O ALLFIRST BANKCORP TRUST C/O M&T BANK ONE M&T PLAZA BUFFALO NY 14203
WYATT SLOAN-TRIBE, ESQ.                  OFFICE OF THE ATTORNEY GENERAL 300 S. SPRING STREET, SUITE 1702 LOS ANGELES CA
                                         90013




                                  Total Creditor count 22




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                                 EXHIBIT B
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 SOUTHERN DISTRICT OF NEW YORK
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 WILLIAM W. JENNY JR.                        caramel@hotmail.com
